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                                 IN THE UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

ST. PAUL FIRE AND MARINE                                         §
INSURANCE COMPANY,                                               §
                                                                 §
                     Plaintiff,                                  §
                                                                 §                     Civil Action No.
v.                                                               §
                                                                 §                     H-05-3811
THEODORE F. LABUZAN and                                          §
DEEANN S. LABUZAN,                                               §
                                                                 §
                     Defendants.                                 §

                                 AGREED MOTION FOR JUDGMENT
                            AGAINST DEFENDANT THEODORE F. LABUZAN

          Plaintiff, St. Paul Fire & Marine Insurance Company (the “Surety”) and Defendant

Theodore F. Labuzan (“Labuzan,” and together with the Surety, the “Parties”), file this motion to

enter a judgment against Labuzan in favor of the Surety and to dismiss the cause with prejudice,

and in support thereof, the Parties respectfully state as follows:

          1.         On April 3, 2010, the Parties reached an agreement in the above-referenced cause.

Labuzan has agreed to a judgment against him in the amount of $5,000,000.00, with post-

judgment interest to accrue at a rate of 1.54%. In addition, Labuzan has agreed to a dismissal of

all claims against the Surety with prejudice.

          2.         Pursuant to the agreement of the Parties, the Parties request the Court enter the

judgment attached hereto as Exhibit “A,” render a judgment against Labuzan, dismiss all claims

of Labuzan against the Surety with prejudice, and tax any costs against the party that incurred

them.




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                                                  REQUEST FOR RELIEF

          FOR THESE REASONS, Plaintiff St. Paul Fire & Marine Insurance Company and

Defendant Theodore F. Labuzan, respectfully request this Court enter a judgment against

Labuzan in the amount of $5,000,000, dismiss all claims of Labuzan against the Surety with

prejudice, and tax any costs against the party that incurred them..

                                                                 Respectfully submitted,

                                                                 LANGLEY WEINSTEIN HAMEL LLP

                                                                 By: _/s/_ Keith A. Langley_____________
                                                                    Keith A. Langley – Attorney in Charge
                                                                    State Bar No. 11919500
                                                                    Southern District No. 19121
                                                                    Brandon K. Bains
                                                                    State Bar No. 24050126
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                                                                 ATTORNEYS FOR ST. PAUL FIRE AND
                                                                 MARINE INSURANCE COMPANY
Agreed:

PAGEL, DAVIS & HILL, P.C.

By: _/s/_ Martyn B. Hill ______________
       Martyn B. Hill
       State Bar No: 09647460
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ATTORNEYS FOR DEFENDANT THEODORE F. LABUZAN




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